         Case 1:18-cv-11642-VM-VF Document 404 Filed 04/10/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                    4/10/2023


WAYNE BALIGA,
                                                                      18-CV-11642 (VM) (VF)
                                            Plaintiff,
                                                                              ORDER
                          -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, ROLAND WU, and
ZEMIN XU,

                                             Defendants.
-----------------------------------------------------------------X

VALERIE FIGUEREDO, United States Magistrate Judge

        On August 22, 2022 this Court entered an Order (the “August 22 Order”) granting in part

and denying in part Defendant Vincent Wenyong Shi’s letter motion requesting that certain

“Sealed Documents” be unsealed and publicly filed. See ECF No. 329. The August 22 Order

denied Shi’s motion with respect to the “Category 3” documents, defined therein as documents

relating to Mr. Guo’s (the Receiver’s agent in China) court-approved Note Agreement. See id. 1

The August 22 Order reasoned that while the “Category 3” documents are judicial documents to

which the presumption of public access applies, the presumption was overcome based on the

representations of the Receiver that Guo abruptly ceased years-long, constant communications

directly following the public disclosure that he has become the largest equity holder in LKM, and

that given the alleged “disappearance,” there was a compelling countervailing interest in

maintaining the Category 3 documents under seal in order to protect against potential harm to

Guo. See id. at 6-9.



        1
            The relevant background and facts are recounted in the August 22 Order.

                                                         1
       Case 1:18-cv-11642-VM-VF Document 404 Filed 04/10/23 Page 2 of 2




       On September 28, 2022, Defendants submitted a motion for relief, pursuant to Federal

Rule of Civil Procedure 60, from the portion of the August 22 Order directing that the “Category

3” documents remain under seal. See ECF No. 356 (the “Rule 60 Motion”). The basis for the

Rule 60 Motion is purported new evidence contained in the Receiver’s September 22, 2022

letter, which conveyed that an individual (the “Individual”) in China had represented to the

Receiver’s office that Guo had been unreachable “for reasons unrelated to LKM” and would re-

appear in “30-60 days.” See ECF No. 351. Thereafter, on October 4, 2022, the Receiver

submitted another letter stating that the Receiver’s office had further communications with the

Individual, who indicated that Guo was “estimated to re-appear by the end of October 2022.” See

ECF No. 363. On October 19, 2022, the Receiver opposed the Rule 60 Motion, asserting that at

that time, he still had not had any direct contact with Guo (“for over 6 months”) and could not

verify the authenticity of the Individual’s representations. See ECF No. 368.

       Since October 2022, the Receiver has not provided a status update as to his knowledge of

Guo’s whereabouts, despite the fact that the Receiver’s last communication from the Individual

suggested that Guo was estimated to “re-appear by the end of October 2022.” Accordingly, the

Receiver is directed to submit a letter by no later than Monday, April 24, 2023, providing an

update as to whether Guo has in fact “re-appeared,” any new information as to Guo’s

whereabouts, and whether the Receiver still believes that Guo’s safety may be in jeopardy.

       SO ORDERED.

DATED:         New York, New York
               April 10, 2023



                                                     ______________________________
                                                     VALERIE FIGUEREDO
                                                     United States Magistrate Judge


                                                2
